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                                 AFFIDAVIT OF DAVID FISH

       I swear under penalty of perjury that the following information is true:

       1.       My name is David Fish. I am over the age of twenty-one and I am competent to

make this Declaration and I have personal knowledge of the matters set forth herein.

       2.       I graduated #2 in my law school class from Northern Illinois University College of

Law in 1999. Prior to starting my own firm, I was employed by other law firms engaged in

litigation in and around Chicago, Illinois including, Jenner & Block in Chicago as a summer

associate, Klein, Thorpe & Jenkins in Chicago as an associate and The Collins Law Firm, P.C. as

an associate.

       3.       I have extensive experience representing employees and employers in labor and

employment disputes. I have handled disputes with the Illinois Department of Labor, the United

States Department of Labor, the Illinois Department of Human Rights, the National Labor

Relations Board, the Equal Employment Opportunity Commission, and in the state and federal

courts in Illinois. I have litigated dozens of cases in the United States District Court for the

Northern District of Illinois.

       4.       My law firm’s resume is attached hereto.

       5.       I am the former chair of the DuPage County Bar Association’s Labor and

Employment Committee and served on the Illinois State Bar Association’s Labor and Employment

Committee Section Council.       I also am a member of the National Employment Lawyers

Association.

       6.       I have, on several occasions, lectured at educational seminars for lawyers and other

professionals. I moderated a continuing legal education panel of federal magistrates and judges on

the Federal Rules of Civil Procedure through the Illinois State Bar Association. I have presented



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on electronic discovery rules and testified before the United States Judicial Conference in Dallas,

Texas regarding electronic discovery issues. I have provided several CLE presentations on issues

relating to labor and employment law.

       7.      I have authored, or co-authored, many articles, including: “Enforcing Non-

Compete Clauses in Illinois after Reliable Fire”, Illinois Bar Journal (April 2012); “Top 10 wage

violations in Illinois”, ISBA Labor and Employment Newsletter (August, 2017); “Physician Non-

Complete Agreements in Illinois: Diagnosis—Critical Condition; Prognosis- Uncertain” DuPage

County Bar Journal (October 2002); “Are your clients’ arbitration clauses enforceable?” Illinois

State Bar Association, ADR Newsletter (October 2012); “The Legal Rock and the Economic Hard

Place: Remedies of Associate Attorneys Wrongfully Terminated for Refusing to Violate Ethical

Rules”, Univ. of W. Los Angeles Law Rev. (1999); “Zero-Tolerance Discipline in Illinois Public

Schools” Illinois Bar Journal (May 2001); “Ten Questions to Ask Before Taking a Legal-

Malpractice Case” Illinois Bar Journal (July 2002); “The Use Of The Illinois Rules of Professional

Conduct to Establish The Standard of Care In Attorney Malpractice Litigation: An Illogical

Practice”, Southern Illinois Univ. Law Journal (1998); “An Analysis of Firefighter Drug Testing

under the Fourth Amendment”, International Jour. Of Drug Testing (2000); “Local Government

Web sites and the First Amendment”, Government Law, (November 2001, Vol. 38).

       8.      I have been involved in this litigation from the start. The proposed Settlement

Agreement provides an excellent result for the Class Members. It provides Class members a

definite recovery and was entered into at a time when the outcome was uncertain. The settlement

agreement entered into in this case represents a fair compromise of a disputed claim. Given the

uncertainty relating to the law at issue, including the statute of limitations and workers




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compensation preemption and what constitutes a biometric identifier, I believe it to be a more than

fair outcome for the Class.

        9.      The parties engaged in multiple rounds of vigorous negotiations, resulting in a

sharply-negotiated Settlement Agreement. The negotiation occurred in an environment of

uncertainty about open issues, i.e., statute of limitations, preemption, and other significant

uncertainties. The parties then exchanged multiple drafts of a settlement agreement.


        Pursuant to 28 U.S.C. § 1746, I declare and state that the factual statements contained herein

are true and correct.




                                                      ______/s/ David Fish________________

                                                      Dated: June 15, 2020




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                                       FIRM OVERVIEW
       The Fish Law Firm, P.C. have experience representing employees and employers in labor

and employment disputes, including before the Illinois Department of Labor, the United States

Department of Labor, the Illinois Department of Human Rights, the National Labor Relations

Board, the EEOC, and in the state and federal courts in Illinois. We represent both individual

employees and companies from negotiations to litigation and in arbitration proceedings

throughout Illinois.

       Our efforts have resulted in numerous favorable outcomes for our clients. Our attorneys

are known for their knowledge of labor and employment matters and have been asked to present

and publish in various classrooms and on-line publications to educate others on how this area of

the law works. We also have an active pro bono practice and provide employment counseling

for no charge to dozens of low income and elderly clients each year through a partnership with

Prairie State Legal Services.



                                    ATTORNEY PROFILES

DAVID FISH

       Mr. Fish graduated #2 in his law school class from Northern Illinois University College

of Law after graduating from Illinois State University. Prior to starting his own firm, Mr. Fish

was employed by larger law firms. (Including, Jenner & Block in Chicago, Illinois as a summer

associate and Klein, Thorpe & Jenkins/Collins Law). He is a member of the National

Employment Lawyers Association which is a group of employment lawyers.


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       Mr. Fish has, on several occasions, lectured at educational seminars for lawyers and other

professionals. He has moderated a continuing legal education panel of federal magistrates and

judges on the Federal Rules of Civil Procedure, he has presented before the Illinois State Bar

Association on electronic discovery rules, and he testified before the United States Judicial

Conference in Dallas, Texas regarding electronic discovery issues.

       Mr. Fish’s publications include: “Enforcing Non-Compete Clauses in Illinois after

Reliable Fire”, Illinois Bar Journal; “Top 10 wage violations in Illinois”, ISBA Labor and

Employment Newsletter (August, 2017); “Physician Non-Complete Agreements in Illinois:

Diagnosis—Critical Condition; Prognosis- Uncertain” DuPage County Bar Journal (October

2002); “Are your clients’ arbitration clauses enforceable?” Illinois State Bar Association, ADR

Newsletter (October 2012); “The Legal Rock and the Economic Hard Place: Remedies of

Associate Attorneys Wrongfully Terminated for Refusing to Violate Ethical Rules”, of W. Los

Angeles Law Rev. (1999); “Zero-Tolerance Discipline in Illinois Public Schools” Illinois Bar

Journal (May 2001); “Ten Questions to Ask Before Taking a Legal-Malpractice Case” Illinois

Bar Journal (July 2002); “The Use Of The Illinois Rules of Professional Conduct to Establish

The Standard of Care In Attorney Malpractice Litigation: An Illogical Practice”, Southern

Illinois Univ. Law Journal (1998); “An Analysis of Firefighter Drug Testing under the Fourth

Amendment”, International Jour. Of Drug Testing (2000); “Local Government Web sites and the

First Amendment”, Government Law, (November 2001, Vol. 38).




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KIMBERLY HILTON

       Ms. Hilton has worked in the legal field for over fifteen years as an attorney, legal

assistant, a paralegal, and a law clerk. Ms. Hilton’s primary focus throughout her career has been

in the area of labor and employment. Ms Hilton has litigated in the state and federal courts and

before agencies such as the Illinois Department of Human Rights, the Equal Employment

Opportunity Commission, the Illinois Human Rights Commission and the American Arbitration

Association.

       Ms. Hilton graduated cum laude from The John Marshall Law School, Chicago, Illinois

in 2010. Ms. Hilton received her Bachelor of Arts in English and Political Science from Cornell

College, Mt. Vernon, Iowa in 2003. During law school, Ms. Hilton worked as a judicial extern

for the Illinois Appellate Court, First District in Chicago, wrote and edited articles for The John

Marshall Law Review and participated in John Marshall’s Moot Court program.

       Ms. Hilton is a member of the National Employment Lawyers Association – Illinois and

the Illinois State Bar Association. Ms. Hilton has also presented two CLE classes for the

DuPage County Bar Association one about the EEOC and IDHR claim procedure and the other

about COVID-19 and the new laws that were enacted in light of the pandemic.



JOHN KUNZE

       John C. Kunze graduated from The University of Illinois Champaign-Urbana with a

Bachelor of Arts Degree in History. Mr. Kunze graduated cum laude from The John Marshall




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Law School in Chicago, Illinois. While at John Marshall John was a member of Law Review, co-

founded The Video Game Law Society, and was the founding editor of the Society’s Newsletter.

       Mr. Kunze is a member of the National Employment Lawyers Association and the

Illinois State Bar Association.



SETH MATUS

       For more than twenty years, Mr. Matus has worked as a lawyer serving businesses

ranging from start-ups and family companies to high tech firms, professional organizations,

retailers and temporary labor services. Mr. Matus has repeatedly saved employers facing class-

action overtime lawsuits from multi-million dollar liability and obtained favorable outcomes for

general contractors entangled in complex construction disputes.

       Mr. Matus is a leader in developing and implementing innovative policies and procedures

to protect confidential information and trade secrets and in ensuring that businesses comply with

applicable law after breaches involving personal data. He has been certified as an information

privacy professional in US private-sector law by the International Association of Privacy

Professionals and has presented several seminars on information privacy topics to business

owners and human resources professionals. Mr. Matus also presented a CLE to the DuPage

County Bar Association about the laws enacted in response to the COVID-19 pandemic and the

implications for small businesses in response.

       Mr. Matus received his JD from the University of Colorado in 1996 and his B.A. from

Rutgers in 1992. He is a member of the Illinois, Colorado, New Mexico bars.


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MARA BALTABOLS

   Mara is an accomplished civil litigator and class action attorney with a wide-range of

experience litigating in state and federal court. Mara was recognized as an Illinois Super Lawyer

Rising Star in Civil Defense Litigation in 2013, and in Consumer Law in 2016-2019. Mara is a

strong believer in taking the best cases to trial. She served as a primary attorney in a case brought

by a senior citizen against a major loan servicer, Hammer v. RCS, that resulted in a $2,000,000

jury verdict upheld on post-trial motions. She was a featured speaker at NACBA’s 23rd Annual

Convention discussing effective adversary proceedings and successfully preparing cases for trial.

Mara previously worked as an attorney at Bock, Hatch, Lewis & Oppenheim, LLC (f/k/a Bock &

Hatch, LLC) and at Sulaiman Law Group, Ltd. d/b/a Atlas Consumer Law.

Mara obtained her J.D. from the University of South Carolina in 2009, and her undergraduate

degree from the University of Colorado at Boulder in 2003. Mara is a member of the Illinois Bar

and admitted to practice in the Northern and Southern federal district courts in Illinois. She is

also admitted to the Eastern District of Wisconsin and Eastern District of Michigan.



THALIA PACHECO

       Thalia serves as the leader of our employment discrimination department where she

litigates the rights of workers. She received her B.A. from Northern Illinois University (DeKalb,

Illinois) and received her J.D. from DePaul University College of Law (Chicago). At DePaul,

Thalia was the Editor-in-Chief of the Journal of Women, Gender & Law.


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        While attending law school, Thalia focused her studies in labor and employment law and

interned at C-K Law Group: The Law Offices of Chicago-Kent in its Plaintiff’s Employment

Law Clinic and Chicago Public Schools in its Labor and Employee Discipline Department.

Thalia has worked at a number of Chicago employment law firms in the area, including Siegel

and Dolan, The Case Law Firm, and employment defense firm Franczek PC. Thalia is a member

of the Hispanic Lawyers Association of Illinois and the American Bar Association. Thalia is

fluent in Spanish. Thalia has presented a CLE for the DuPage County Bar Association about the

leave laws related to the COVID-19 pandemic.



SANDY ALPERSTEIN

        Sandy holds a B.A. in English from the University of Florida and is graduate of the

University of Chicago Law School (cum laude, 1990). Sandy was a Staff Member of the Law

Review and is admitted to the Illinois State Bar and the Northern District of Illinois. Sandy has

represented clients in varied settings such as large law firms (Mayer, Brown), in-house (UARCO

Incorporated), smaller boutique law firms, and in her own private practice. Sandy is an active

volunteer in the disability community, participating in special education law and policy advocacy

on the federal, state, and local levels.

NICOLE SANDERS

        Nicole is an experienced legal assistant/paralegal with over 28 years’ experience in the

legal field. Nicole has helped attorneys and clients in many different areas of the law including:




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employment law, personal injury, workers’ compensation, real estate, divorce, and estate

planning. She currently serves to support our employment attorneys and litigators.


                                 REPRESENTATIVE CASES

       Some examples of class, collective, and/or employment litigation in which The Fish Law

Firm has served as counsel include:

           a.     Nelson v. UBS Global Management, No. 03-C-6446, 04 C 7660 (N. D.

                  Ill.)(ERISA class action on behalf of thousands of BP Amoco employees who

                  had Enron debt purchased as part of their money market fund; recovery of

                  approximately $7 million).

           b.     Franzen v. IDS Futures Corporation, 06 CV 3012 (N. D. Ill. 2006)(recovery

                  of millions of dollars for more than 1,000 limited partners in an investment fund

                  that lost value as a result of the Refco bankruptcy).

           c.     Pope v. Harvard Bancshares, 06 CV 988, 240 F.R.D 383 (N. D. Ill. 2006)(class

                  action recovery of $1.3 million for former shareholders of community bank who

                  had stock repurchased in a reorganization).

           d.     Johnson v Resthaven/Providence Life Services, 2019CH1813 (Cook County,

                  IL)($3 million class action recovery under Biometric Information Privacy Act)

           e.     Pietrzycki v. Heights Tower Serv., Inc., 197 F. Supp. 3d 1007 (N.D. Ill.

                  2016)(finding Fish appropriate to represent Class in wage and hour claims

                  relating to overtime; case ultimately resolved on a class wide basis prior to

                  trial).

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          f.     Schrock v. Wenner Media LLC, et al, 10-cv-7230 (defended marketing

                 company in putative nationwide class action alleging violations of TCPA for

                 unsolicited text message marketing; our client dismissed from case voluntarily

                 without payment).

          g.     Ralph/Memoli v. Get Fresh Produce Inc., 2019CH2324 ($675,000 settlement

                 on a class wide basis for claims under Biometric Information Privacy Act)

          h.     Parker v. DaBecca Natural Foods, 2019CH1845 ($999,975 settlement on a

                 class wide basis for claims under Biometric Information Privacy Act)

          i.     G.M. Sign Inc. v. Pastic-Mach Corporation, 12-cv-3149 and 10-cv-7854

                 (defended putative nationwide class action alleging violations of TCPA for

                 unsolicited junk faxes, both cases dismissed without payment by client).

          j.     Ismael Salam v Nationwide Alarm LLC, 14-cv-1720 (defended putative

                 nationwide class action alleging violations of TCPA for unsolicited calls to

                 cellular telephone; our client dismissed with prejudice voluntarily without

                 payment).

          k.     Cope v. Millhurst Ale House of Yorkville, Inc. 14-cv-9498 (collective action for

                 FLSA claims settled on collective basis).

          l.     Girolamo v. Community Physical Therapy & Associates, Ltd, 15-cv-2361

                 (alleging claims under FLSA, IMWL, IWPCA).




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          m.     Jones et al v. Sistar Beauty Corporation, 15-cv-3359 (collective action alleging

                 FLSA and class action alleging Illinois Minimum Wage Law “IMWL” claims;

                 final judgment entered).

          n.     Day v. NuCO2 Mgmt., LLC, 1:18-CV-02088, 2018 WL 2473472, at *1 (N.D.

                 Ill. May 18, 2018)(serving as the collective’s co-counsel in a $900,000

                 settlement under FLSA)

          o.     Mello et al v. Krieger Kiddie Corporation, 15-cv-5660 (collective and putative

                 class action alleging claims under FLSA, IMWL, IWPCA).

          p.     Kalechstein v. Mehrdad Abbassian, M.D., P.C., 15-cv-5929 (defending IWPCA

                 claims).

          q.     Sotelo v. DirectRevenue, No. 05-2562 (N.D. Ill. filed Apr. 29, 2005)(class

                 action alleging that company placed “spyware” on consumers’ computers;

                 resulted in a settlement that mandated significant disclosures to computer

                 users before unwanted software could by placed on their computers, see also

                 Julie Anderson, Sotelo v. Directrevenue, LLC: Paving the Way for Spyware-

                 Free Internet, 22 Santa Clara High Tech. L.J. 841 (2005).

          r.     Barker et al v. Septran, Inc, 15-cv-9270 (IMWL and putative collective claims

                 under the FLSA and IWPCA).

          s.     Sharples et al v. Krieger Kiddie Corporation, 2013 CH 25358 (Cir. Court Cook

                 County) (Illinois Wage Payment and Collection Act IWPCA class action

                 claims; final approval of class wide settlement).


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          t.     Wendell H. Stone Co. v. Metal Partners Rebar, 16-cv-8285 (defending TCPA

                 class action).

          u.     Barker v. Septran, 15-cv-9270 (Rule 23 IWPCA claim for vacation forfeiture

                 and separate FLSA claims for overtime).

          v.     Andrews v. Rockford Process Control, Inc., 3:17-cv-50171 (class and

                 collective claims brought under the FLSA and the IMWL).

          w.     Kusinski v. MacNeil Automotive Products Limited, 17-cv-03618 (class and

                 collective claims under the FLSA and the IMWL; final approval of class

                 settlement entered);

          x.     Grace v. Brickstone, 17-cv-7849 (class and collective claims under the FLSA,

                 IMWL, and IWPCA; final approval of class settlement).

          y.     Larson v. Lennox Industries, 2013 WL 105902 (N.D. Ill, 12 c 2879)(conditional

                 certification granted in FLSA action alleging that store managers were

                 misclassified as exempt from receiving overtime pay).

          z.     Gabryszak v. Aurora Bull Dog Co., 427 F. Supp. 3d 994 (N.D. Ill.

                 2019)(obtaining partial summary judgment for Collective under FLSA in a tip

                 credit case for servers).




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